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                                      ORDERED.


     Dated: October 26, 2018




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In Re:


LOIS MAE WRIGHT                                     CASE NO.: 8:18-bk-6760-CPM
                                                    CHAPTER 7
         Debtor,
_____________________________/


           ORDER GRANTING MOTION TO VACATE ORDER
     APPROVING TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL
    REAL ESTATE SERVICES AND WEICHERT REALTORS – EQUITY TO
PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330


         This cause came before the Court for hearing on October 18, 2018 upon Debtor’s Motion

to Vacate the Court’s Order on Trustee’s Application to Retain Real Estate Services (D.E. 27).

Present before the Court were Debtor, Lois Mae Wright, and her attorney, Frank T. Papa, and

Carolyn Chaney, Chapter 7 Panel Trustee. The Court having reviewed the Order Approving

Trustee’s Application to Retain BK Global Real Estate Service and Weichert Realtors – Equity

to Procure Consented Public Sale Pursuant to 11 U.S.C. §§327, 328 and 330 (D.E. 24), the


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subject Motion, the court file and hearing argument of counsel, has determined that it is

appropriate to enter an order granting the motion and reserving ruling as to the trustee’s claim to

Quantum Meruit Compensation. Accordingly, it is

ORDERED:

       1. The Motion is GRANTED in that the Order Approving Trustee’s Application to

           Retain BK Global Real Estate Service and Weichert Realtors – Equity to Procure

           Consented Public Sale Pursuant to 11 U.S.C. §§327, 328 and 330 is hereby

           VACATED. The property is to be sold and Debtor has the full right and authority to

           hire a realtor of her choosing to sell the property.

       2. Within seven (7) days of hearing on this matter, Debtor has the option at her

           discretion to amend her schedules to rephrase the wording of her claimed homestead

           exemption without prejudice to the Estate’s rights.

       3. Trustee may file an Application for Quantum Meruit Compensation for her time and

           costs incurred attempting to sell the property on behalf of the Estate.

       4. The Court shall reserve ruling on the Trustee’s claim to Quantum Meruit

           Compensation. Accordingly, within thirty (30) days of this hearing, the parties shall

           provide the Court with a list of controlling authorities to support their respective

           positions. The Court seeks cases that address whether a trustee may rely on a

           homestead exemption stated in a monetary value and choose not to object to the

           stated claim of exemption when the statutory language of the homestead exemption

           only limits the exemption by size and not by monetary value.




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         5. Upon the sale of the home, payment of the mortgage and all closing costs, the net

             proceeds shall be held in escrow until the Court has ruled on any application the

             trustee might file for Quantum Meruit Compensation.




Attorney Robert M. Geller is directed to serve a copy of this Order on interested parties and file a proof of service
within 3 days of entry of the Order.




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